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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF ARKANSAS, WESTERN DIVISION

KIM BLACKSHIRE-LEE, as Special PLAINTIFF

Adiministratrix of the Estate of Bradly
Blackshire, Deceased

Vs. CASE NO.:4:19-CV-398-BRW

OFFICER CHARLES STARKS #34308,
OFFICER MICHAEL SIMPSON #36194,
And THE CITY OF LITTLE ROCK DEFENDANTS

ENTRY OF APPEARANCE
COMES NOW, Robert A. Newcomb and hereby enters his

appearance in behalf of Officer Charles Starks.

1. Officer Starks has today sent a Waiver of the Service of

Summons to counsel for the Plaintiff.

CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing was served via US.
Mail this .$ __ day of July, 2019, to:

Mr. Omavi Shukur
311 North Aberdeen Street

3rd Floor HE:
Chicago, IL 60607 v
Robert A. Newcémb
